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                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                      GREENVILLE DIVISION

SYREETA L. KEE                                                                            PLAINTIFF

VS.                                                       CIVIL ACTION NO. 4:20-CV-127-SA-JMV


HOWARD L. NATIONS, P.C. a/k/a
THE NATIONS LAW FIRM AND
HOWARD L. NATIONS, Individually                                                       DEFENDANTS


                   AGREED ORDER ALLOWING AMENDMENT TO PLEADINGS

               This matter presently before the Court on the motion ore tenus of the plaintiff to amend

her Complaint, pursuant to Fed. R. Civ. P. 15(a)(2), and the court being advised that defendants

do not oppose the amendment, finds the motion well taken and sustains the same.

          IT IS THEREFORE, ORDERED that plaintiff be allowed to amend her Complaint within

ten (10) days of the date of this Order.

               SO ORDERED, this the 6th day of November, 2020.



                                                             /s/ Jane M. Virden
                                                             UNITED STATES MAGISTRATE JUDGE


APPROVED AS TO FORM:


/s/ Ellis Turnage
Ellis Turnage – MS Bar No. 8131
Attorney for Plaintiff


/s/ Robert F. Stacy, Jr.
Robert F. Stacy, Jr. – MS Bar No. 7764
Attorney for Defendants




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Presented by:

Robert F. Stacy, Jr., Esq.
Daniel Coker Horton & Bell, P.A.
265 North Lamar Boulevard, Suite R
Post Office Box 1396
Oxford, MS 38655-1396
Telephone: (662) 232-8979
Facsimile: (662) 232-8940
rstacy@danielcoker.com




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